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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
STANDING ORDER REGARDING
BRIEFING IN ALL CASES

IT IS HEREBY ORDERED this 10" day of November 2022 that the following
briefing requirements shall apply IN ALL CASES where parties are represented by
counsel:

Page/Word Limitations. Where page limits are specified by local rule, the
parties shall use a word-count limit. For each page allowed by local rule, the
parties shall use up to 250 words. For example, where the page limit specified by
rule is 20 pages, the maximum number of words for a party’s submission would be
5,000 (20 x 250). A certification as to the total number of words must be included
in any submission.

Font. The text for all briefs, letters, motions, and concise statements of fact
shall be 14-point and in Times New Roman or similar typeface. Each such filing
must include a certification by counsel that the filing complies with the type, font,
and word limitations set forth in this Order. The person who prepares the
certification may rely on the word count of the word-processing system used to

prepare the filing.
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Colors of Front Covers. The covers of briefs filed in connection with all

motions except for motions in Jimine included in a pretrial order shall be as
follows:

1. Opening Brief — Blue

ii. | Answering Brief—Red

lll. Reply Brief - Gray

Ob. A BME

CHIEF JUDGE
